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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF GEORGIA
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2:15-cv-79

Stephen Samuels

U.S. Dept. of Justice

Environment & Natural Resources Division
Ben Franklin Station

601 D Street NW

P.O. Box 7611

Washington , DC 20044-7611

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Register now and get all your pleadings and orders delivered to your desktop
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Case 2:15-cv-000 79 GW RE toe Dietric t Fi a a a Page 1 of 1

Southern District of Georgia
Brunswick Division

STATE OF GEORGIA, et al.,

CASE NUMBER: CV 2:15-79

vs.

ANDREW WHEELER, et al.,

NOTICE

You are hereby notified that a motion for summary judgment was filed by : _Intervenor Plaintiff
American Farm Bureau Federation on 8/31/18 . The motion will be submitted

for decision by the Court pursuant to the local rules. Unless you file for and are granted an extension of time to

respond, all pleadings, affidavits, and other evidence in opposition to this motion for summary judgment MUST be
filed with the Clerk's office ON OR BEFORE 09/21/18 (21 days).

You need to know that :

l. If youdo not timely respond to this motion for summary judgment, the consequence may be that the
Court will deem the motion unopposed, and the Court may enter judgment against you.

2. If your opponent's Statement of Material Facts sets forth facts supported by evidence, the Court may
assume that you admit all such facts unless you oppose those facts with your own Statement of Material
Facts which also sets forth facts supported by evidence. Also, your opponent may use its Statement of
Material Facts to show that there is insufficient evidence to support your claims or defenses.

3. If a summary judgment motion is properly supported, you may not rest on the allegations
in your pleadings alone. To oppose a properly supported motion for summary judgment,
you will probably need to rebut it with admissible evidence.

4. You have a right to file affidavits or other material in opposition to the motion for summary
judgment.

5. Federal Rule of Civil Procedure 56 governs summary judgment motions. You should consult this rule
as well as the Local Rules for the Southern District of Georgia, especially Local Rule 56.1.

6. Pursuant to Rules 5 & 6 of the Federal Rules of Civil Procedure, a response is due

within 21 days of service.

IF YOU DO NOT RESPOND AS DIRECTED IN THIS NOTICE, THE COURT MAY ENTER A FINAL
JUDGMENT AGAINST YOU WITHOUT A FULL TRIAL OR ANY OTHER PROCEEDINGS.

I certify that this 31st day of August , 2018 _, acorrect copy of this notice was sent
electronically through CM/ECF to all parties in this case in accordance with this Court's Administrative
Procedures. I further certify that any party not authorized to receive notification of electronic filing has been
sent a correct copy of this notice via US Mail.

 

SCOTT L. POFF, CLERK

BY: s/Candy Asbell
DEPUTY CLERK

 
